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Phil Telfeyan (pro hac vice)
Rebecca Ramaswamy (pro hac vice)
Attorneys, Equal Justice Under Law
400 7th Street NW, Suite 602
Washington, D.C. 20004
(202) 505-2058
ptelfeyan@equaljusticeunderlaw.org
rramaswamy@equaljusticeunderlaw.org

Robert Farris-Olsen (MT Bar No. 11937)
Scott Peterson (MT Bar No. 11996)
Attorneys, Morrison, Sherwood, Wilson & Deola, PLLP
401 N. Last Chance Gulch St.
Helena, MT 59601
(406) 442-3261
rfolsen@mswdlaw.com
speterson@mswdlaw.com
Attorneys for Plaintiffs

                   THE UNITED STATES DISTRICT COURT
           FOR THE DISTRICT OF MONTANA, BUTTE DIVISION
____________________________________
MICHAEL DIFRANCESCO and                  )
ASHLEY DAVIS,                            )
                                         ) Case No. CV-17-66-BU-SEH
       Plaintiffs,                       )
                                         )
              v.                         )
                                         ) PLAINTIFFS’ OPPOSITION
TIM FOX, in his official capacity as     ) TO DEFENDANTS’
Attorney General of Montana;             ) MOTION FOR SUMMARY
SARAH GARCIA, in her official capacity )   JUDGMENT
as Administrator of the Motor Vehicle    )
Division; and                            )
MICHELE SNOWBERGER, in her               )
official capacity as Bureau Chief of the )
Driver Services Bureau,                  )
                                         )
       Defendants.                       )
____________________________________)
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I.    Introduction

      Plaintiffs oppose Defendants’ Motion for Summary Judgment (ECF No. 72)

and respectfully ask this Court to deny Defendants’ Motion and grant Plaintiffs’

Motion for Summary Judgment as to Liability (ECF No. 69). Plaintiffs do not

dispute any of the facts Defendants presented in their Statement of Undisputed Facts

(ECF No. 74) or relied upon in their Brief in Support of their Motion for Summary

Judgment (ECF No. 75). Defendants’ motion should be denied because Defendants

have violated Plaintiffs’ Equal Protection and substantive Due Process rights by

discriminating on the basis of wealth, Plaintiffs’ fundamental right to travel is

implicated by their driver’s license suspensions, and Defendants have violated

Plaintiffs’ procedural Due Process rights by failing to provide pre-deprivation

ability-to-pay hearings or notice of such hearings.

II.   Defendants Have Violated Plaintiffs’ Equal Protection and Substantive
      Due Process Rights by Discriminating on the Basis of Wealth

      Defendants’ driver’s license suspension scheme violates Plaintiffs’ Equal

Protection and substantive Due Process rights because it discriminates on the basis

of wealth by imposing a punishment for nonpayment without any exception for

indigence. Despite Defendants’ arguments to the contrary, (A) Plaintiffs’ Equal

Protection claim is subject to strict scrutiny under Supreme Court precedent; and (B)

even if rational basis review is applied, Defendants’ suspension scheme cannot pass

constitutional muster.

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      A.     Plaintiffs’ Equal Protection Claim Is Subject to Strict Scrutiny

      Defendants concede that the suspension scheme in question is subject to Equal

Protection analysis as a statutory classification. See Defs.’ Summ. J. Br., ECF No.

75 at 9. But Defendants’ argument that the classification is subject only to rational

basis review is incorrect for two reasons: (i) the statutory scheme is an indigence

classification under the line of Supreme Court cases beginning with Griffin v. Illinois

and is subject to the exacting scrutiny required by that precedent, 351 U.S. 12 (1956);

and (ii) Plaintiffs’ case is distinguishable from San Antonio School District v.

Rodriguez and falls under Rodriguez’s stated exceptions for analyzing wealth-based

discrimination under strict scrutiny. 411 U.S. 1 (1973).

             i.     Defendants’ Statutory Scheme Is Based on an Indigence
                    Classification under the Griffin Cases

      For all the reasons stated in Plaintiffs’ Summary Judgment Brief (ECF No. 71

at 9–19), Defendants’ suspension of Plaintiffs’ driver’s licenses for nonpayment of

court debt without any indigence exception amounts to wealth-based discrimination

under the Supreme Court’s Griffin cases, and the suspension scheme is therefore

subject to heightened scrutiny. Defendants incorrectly assert that the statutory

scheme in question is not a classification based on indigence, but the Supreme Court

has unequivocally established that a statute that imposes a penalty for nonpayment,

even a statute that is neutral on its face, nevertheless discriminates on the basis of

wealth if it does not contain any exception based on indigence. See Griffin, 351 U.S.

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at 12, 13 (holding that a requirement that individuals pay a fee for trial transcripts

on appeal, although neutral on its face, had the effect of “deny[ing] adequate

appellate review to the poor while granting such review to all others,” which was

unconstitutional); see also Mayer v. City of Chicago, 404 U.S. 189, 196–97 (1971)

(extending Griffin’s logic to cases in which indigent debtors face a consequence

other than imprisonment for nonpayment); Williams v. Illinois, 399 U.S. 235, 242

(1970) (The “statutory scheme does not distinguish between defendants on the basis

of ability to pay fines. But, as we said in Griffin . . . a law nondiscriminatory on its

face may be grossly discriminatory in its operation.”); Tate v. Short, 401 U.S. 395,

397–98 (1971) (holding that a debtor could not be incarcerated to pay off traffic

fines, emphasizing that the constitutional defect was not in the act of imposing a

consequence for nonpayment, but in the fact that imposing that consequence upon

an indigent person had the effect of imposing greater punishment based on the

person’s wealth); Bearden v. Georgia, 461 U.S. 660, 672–73 (1983) (holding that a

person’s probation could not be revoked for failure to pay a fine without a finding

that the person’s nonpayment was willful or that alternative forms of punishment

were inadequate). All of this Supreme Court precedent establishes and reinforces

the principle that penalties for nonpayment require heightened scrutiny if they lack

an exception for indigence.




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      Defendants interpret the Supreme Court’s Griffin doctrine too narrowly when

they claim that it applies only in cases involving incarceration or denial of access to

courts. In Mayer, the Court expressly divorces the doctrine’s logic from any

contemplation of the “balance between the needs of the accused and the interests of

society” and emphasizes that the “invidiousness of the discrimination that exists

when criminal procedures are made available only to those who can pay is not erased

by any differences in the sentences that may be imposed.” 404 U.S. at 196–97.

While Mayer involves access to courts, its outcome turns on the lack of distinction

between a defendant facing imprisonment if he loses his appeal and a defendant

facing a fine if he loses his appeal, id.; thus, Mayer stands for the principle that the

severity of the consequence a person faces for nonpayment has no bearing on the

question of whether that person faced the consequence because of his indigence. For

this reason, Defendants’ reliance on Franceschi v. Yee is misplaced: In Franceschi,

the plaintiff did not base his claims on his indigence; in fact, he did not claim to be

indigent at all, but rather attempted to justify his failure to pay his taxes on the basis

that “he owed none.” 887 F.3d 927, 933 (9th Cir. 2018).

      Relatedly, the Supreme Court has described wealth-based discrimination as

“accomplish[ing] indirectly as to an indigent that which cannot be done directly.”

Williams, 399 U.S. at 243. Again, the reasoning turns on whether the additional

consequence was imposed due to the defendant’s indigence. Plaintiffs are

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challenging the suspensions they received when they were unable to pay fines for

underlying offenses for which license suspension is not a permissible sentence. For

example, Defendants suspended Ms. Davis’s license when she failed (due to her

indigence) to pay fines for insurance violations — there is no statutory basis for her

license to have been suspended based solely on those underlying violations.

Therefore, imposing license suspension as a consequence for nonpayment of the

fines punishes Plaintiffs in a way that they could not have been punished if not for

their indigence, and therefore constitutes wealth-based discrimination; a wealthier

person who pays the fine cannot possibly face a license suspension for the insurance

violations Ms. Davis received.      To weigh the seriousness of driver’s license

suspension against the seriousness of imprisonment or lack of access to courts would

be to entertain an analysis of the “balance between the needs of the accused and the

interests of society,” an approach the Supreme Court rejects. Mayer, 404 U.S. at

196.

             ii.   Plaintiffs’ Case Is Distinguishable from San Antonio School
                   District v. Rodriguez

       The Supreme Court provided a summary of the characteristics of wealth-

based classifications subject to heightened scrutiny under Griffin and its progeny in

San Antonio School District v. Rodriguez, 411 U.S. 1, 20–22 (1973). Defendants

erroneously characterize the Supreme Court’s holding in Rodriguez as a rejection of

the notion that courts may apply strict scrutiny to statutory classifications based on
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wealth. Rodriguez does not hold that strict scrutiny never applies to wealth-based

classifications. In fact, consistent with the Griffin cases, Rodriguez identifies

“threshold considerations” that must be analyzed “[b]efore a State’s laws and the

justifications for the classifications they create are subjected to strict judicial

scrutiny.”   411 U.S. at 19.      These threshold considerations consist of “two

distinguishing characteristics” that a poverty class must satisfy: (1) whether

“because of their impecunity they were completely unable to pay for some desired

benefit,” and (2) whether “as a consequence, they sustained an absolute deprivation

of a meaningful opportunity to enjoy that benefit.” Id. at 20; see also U.S. v. Barajas-

Guillen, 632 F.2d 749, 753 (9th Cir. 1980). The Rodriguez factors further prove that

Defendants’ legal test — based on whether the case involves imprisonment or access

to courts — is incorrect. The factors also demonstrate why Plaintiffs’ wealth-based

discrimination case is appropriate for strict scrutiny review.

      The first threshold characteristic the Supreme Court identifies in Rodriguez is

that the disadvantaged class must be “fairly definable as indigent;” that is,

completely unable to pay for the desired benefit. Rodriguez, 411 U.S. at 22. The

plaintiffs in Rodriguez represented families living in certain low-property-tax

districts. The Supreme Court found that because there was “reason to believe that

the poorest families are not necessarily clustered in the poorest property districts,”

the class was not “fairly definable as indigent” and therefore did not satisfy the first

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“distinguishing characteristic of wealth classification.” Id. at 22–23. In this case,

by contrast, Plaintiffs are fairly definable as indigent. They are not representing a

class of individuals whose indigence is assumed based on where they live —

Plaintiffs are indigent. Pls.’ Undisputed Facts, ECF No. 70 at ¶¶ 9, 10, 11, 27. Their

poverty renders them completely unable to pay off their court debt to avoid license

suspension. It is not the case that the cost of paying the debt is “great, but not

insurmountable,” nor are Plaintiffs “persons with relatively less money on whom

designated fines impose heavier burdens.” Rodriguez, 411 U.S. at 21–22. Rather,

Plaintiffs are completely unable to pay. Plaintiffs have not managed to pay off their

debt and get their licenses reinstated because they cannot do so without foregoing

basic life necessities; that is, they are completely unable to pay the amount required.

Thus, Plaintiffs satisfy the first Rodriguez characteristic.

      The second threshold characteristic identified in Rodriguez is that the

disadvantaged class must suffer “an absolute deprivation of the desired benefit.”

411 U.S. at 23. The Supreme Court noted that the plaintiffs’ argument in Rodriguez

was “not that the children in districts having relatively low assessable property

values [were] receiving no public education; rather, it [was] that they [were]

receiving a poorer quality education than that available to children in districts having

more assessable wealth.” Id. This case is distinguishable because Plaintiffs have

suffered an absolute deprivation of their driver’s licenses and their ability to drive

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legally. People whose licenses are suspended because of failure to comply with a

sentence, including payment of fines, costs, or restitution, are not eligible to receive

provisional, restricted, or probationary licenses. Mont. Code Ann. § 61-5-215.

Therefore, Plaintiffs have no option that allows them to drive legally while their

licenses are suspended, and their suspensions were the result of a complete inability

to pay court debt. Thus, the second distinguishing characteristic is satisfied.

      Because Plaintiffs satisfy the threshold requirements, their case is

distinguishable from Rodriguez, and the wealth-based discrimination they face is

subject to strict scrutiny analysis. Rodriguez, 411 U.S. at 20; see also Barajas-

Guillen, 632 F.2d at 753. Defendants’ additional Supreme Court invocations on this

point are inappropriate for the same reason. Harris v. McRae does not preclude the

application of strict scrutiny to wealth-based classifications; it merely states that

“poverty, standing alone is not a suspect classification.” 448 U.S. 297, 323 (1980)

(emphasis added). This is consistent with Rodriguez’s requirement that a poverty

class must satisfy the two threshold requirements discussed above before strict

scrutiny is appropriate.      City of Cleburne makes no mention of poverty

classifications at all and does not claim to include an exhaustive list of all possible

circumstances when strict scrutiny may apply. City of Cleburne, Tex. v. Cleburne

Living Ctr., 473 U.S. 432, 440–42 (1985). Defendants’ arguments that strict scrutiny

does not apply are therefore unavailing.

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      B.     Even under Rational Basis Review, Defendants’ Suspension
             Scheme Fails

      For the reasons stated above and in Plaintiffs’ Summary Judgment Brief (ECF

No. 71 at 9–19), Defendants’ wealth-based driver’s license suspension scheme is

subject to strict scrutiny. But even under rational basis review, the statutory scheme

cannot pass constitutional muster because it is not rationally related to any

conceivable state interest, including (i) ensuring court appearance, (ii) ensuring

payment of imposed fines and restitution, (iii) deterring criminal conduct, and (iv)

providing alternatives to jail.

             i.     The Challenged Suspension Scheme Is Not Rationally
                    Related to the State Interest of Ensuring Court Appearance

      Defendants’ suspension scheme, to the extent it punishes failure to pay, is not

rationally related to the state interest of ensuring court appearance. Montana law

separately provides that a person’s driver’s license must be suspended if that person

fails to appear in court. Mont. Code Ann. § 61-5-214(1)(a). This provision falls

outside the scope of Plaintiffs’ lawsuit, which instead challenges suspensions

imposed based on failure to pay fines, costs, or restitutions. Even if the challenged

provision were struck down, Defendants would still be authorized to issue

suspensions based on failure to appear. Therefore, the suspensions relevant to this

lawsuit are unrelated to the state interest of ensuring court appearance.




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             ii.    The Challenged Suspension Scheme Is Not Rationally
                    Related to the State Interest of Payment of Imposed Fines or
                    Restitution

      Defendants’ suspension scheme is not rationally related to the state interest of

ensuring payment of imposed fines and restitution. As Plaintiffs argued in their

Summary Judgment Brief (ECF No. 71 at 17–18), suspending licenses to encourage

payment of court debt is irrational and counterproductive when applied to indigent

drivers because a person who is unable to pay only becomes less able to pay when

her driver’s license is suspended. A person who cannot reliably get to work because

she cannot drive is unlikely to be able to obtain or maintain steady employment, and

therefore cannot earn enough money to pay off her court debt. Moreover, license

suspension can create additional difficulties in carrying out everyday responsibilities

that end up costing more money; people who cannot drive themselves around may

have to pay for expensive private transportation, which is often unaffordable for

people living in poverty.       Taking away transportation options (or making

transportation more expensive) makes it harder for people to earn money and costs

them more money. Thus, suspension subverts any legitimate state interest in

collecting outstanding court debt. See Robinson v. Purkey, 326 F.R.D. 105, 157

(M.D. Tenn. 2018) (“There is reason to believe that taking away a driver’s license is

not merely out of proportion to the underlying purpose of ensuring payment, but

affirmatively destructive of that end.”).


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             iii.   The Challenged Suspension Scheme Is Not Rationally
                    Related to the State Interest of Deterring Criminal Conduct

      Defendants’ suspension scheme is not rationally related to the state interest of

deterring criminal conduct. First, occasional minor traffic violations are virtually

inevitable for people who regularly drive, and people who cannot afford to pay fines

already have good reason to avoid breaking the traffic laws and incurring court debt

that they cannot afford. Some offenses, like Ms. Davis’s insurance violations, are

the direct result of poverty and cannot be avoided no matter how strong the

motivation. Moreover, there is no reason that people living in poverty deserve to be

subjected to harsher punishments as a means of deterrence than those who can easily

pay off a traffic fine, avoid suspension, and live to speed another day. In fact, this

disparity in the severity of punishments for indigent individuals compared to

wealthier individuals is a key element of wealth-based discrimination.

      Plaintiffs’ underlying offenses already have penalties designed to deter their

commission; the fact that the penalties for those offenses does not include license

suspension illustrates that the legislature believes that deterrence will be adequately

served through these other means. For example, the state has determined that the

appropriate way to deter insurance violations is to impose fines. Mont. Code Ann.

§ 61-6-304. The state has not even made license suspension a possible consequence

for that offense (until a fourth or subsequent violation), id.; the suspension is not for

the offense itself, but for inability to pay the fine. Penalizing someone for inability
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to pay is unrelated to deterring the underlying offense, and the state’s statutory

scheme makes this apparent by not including suspension as a possible penalty for

the offense itself.

              iv.     The Challenged Suspension Scheme Is Not Rationally
                      Related to the State Interest of Providing Alternatives to Jail

       Defendants’ suspension scheme is not rationally related to the state interest of

providing alternatives to jail. Jailing individuals who fail to pay their traffic fines

due to indigence would be unconstitutional for many of the same reasons that

suspending their driver’s licenses is unconstitutional. The state of Montana has

many options for enforcing its laws and collecting its debts that do not violate its

residents’ constitutional rights, including community service, affordable payment

plans, and other alternatives that account for indigence. Given the lack of any

rationale or logic behind this interest, it is no surprise that Defendants offer virtually

no substantive reasoning in their brief to support this justification.

III.   Plaintiffs Have a Fundamental Right to Intrastate Travel that Is
       Implicated by Their Driver’s License Suspensions

       For all the reasons stated in Plaintiffs’ Summary Judgment Brief (ECF No. 71

at 19–23), Defendants’ suspension scheme strips Plaintiffs of their mobility,

implicating their constitutional right to travel.       The Ninth Circuit has never

definitively decided whether the constitutional right to travel extends to travel within

a state. See Nunez by Nunez v. City of San Diego, 114 F.3d 935, 944 n.7 (9th Cir.


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1997) (“We express no opinion on [whether the Constitution guarantees the

fundamental right of intrastate travel].”). But several other federal appellate courts

have recognized such a right. See, e.g., King v. New Rochelle Mun. Hous. Auth., 442

F.2d 646, 648 (2d Cir. 1971) (“It would be meaningless to describe the right to travel

between states as a fundamental precept of personal liberty and not to acknowledge

a correlative constitutional right to travel within a state.”); see also Lutz v. City of

York, Pa., 899 F.2d 255, 256 (3d Cir. 1990) (“[a] constitutional right of intrastate

travel . . . exists, and grows out of substantive due process.”) (emphasis in original);

Johnson v. City of Cincinnati, 310 F.3d 484, 495 (6th Cir. 2002) (holding that the

Due Process Clause of the Fourteenth Amendment protects the “right to travel

locally through public spaces and roadways.”).

      Although Plaintiffs are not expressly prohibited from traveling, taking away

their driver’s licenses because they cannot afford to pay fines is a significant

deprivation. Public transportation in Montana is extremely limited and an unrealistic

option for meeting life’s basic needs. Pls.’ Undisputed Facts, ECF No. 70 at ¶¶ 60–

61. Plaintiffs do not have access to other modes of transportation. Id. at ¶¶ 8, 33,

61. Taxis and car services are prohibitively expensive for everyday use, and

Montana’s harsh winters make walking and biking impractical and even dangerous

on some days. Id. at ¶ 62. Thus, Plaintiffs “depend on” driving “to carry out [their]

daily life activities,” Johnson, 310 F.3d at 498, and Montana’s suspensions infringe

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on their fundamental rights. Plaintiffs’ “right to travel locally through public spaces

and roadways — perhaps more than any other right secured by substantive due

process — is an everyday right, a right [they] depend on to carry out [their] daily life

activities. It is, at its core, a right of function.” Johnson, 310 F.3d at 498 (emphasis

added). By suspending Plaintiffs’ driver’s licenses, Defendants have imposed a

functional ban on their intrastate travel that constitutes far more than a restriction on

travel that lasts a few hours or only covers a few blocks. Cole v. City of Memphis,

839 F.3d 530, 537 (6th Cir. 2016) (noting that strict scrutiny is appropriate where an

intrastate travel restriction imposes a broad prohibition). Rather, it forecloses all

travel because driving is Plaintiffs’ only practical means of transport.

IV.   Defendants Concede that Plaintiffs Are Entitled to Due Process Before
      Their Driver’s Licenses Are Suspended — and No Such Process Was
      Provided

      Defendants concede that Plaintiffs are entitled to notice and an opportunity to

be heard, Defs.’ Summ. J. Br., ECF No. 75 at 16, but Defendants incorrectly assert

that the procedures provided in Montana satisfy the requirements of due process.

Defendants’ suspension scheme violates Plaintiffs’ procedural Due Process rights

because (A) Plaintiffs are entitled to a pre-deprivation hearing considering their

ability to pay before their licenses are suspended, as well as notice of that

opportunity; and (B) Montana’s existing statutory scheme does not provide adequate

procedural protections.


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      A.     Plaintiffs Are Entitled to a Pre-Deprivation Hearing Considering
             Their Ability to Pay Before Their Licenses Are Suspended and
             Notice of that Opportunity

      Plaintiffs are entitled to a pre-deprivation hearing considering their ability to

pay before their licenses are suspended — and notice of that opportunity — because

(i) the Mathews v. Eldridge factors weigh in favor of the guarantee of an ability-to-

pay hearing and notice of that hearing, 424 U.S. 319 (1976); (ii) Dixon v. Love allows

a driver’s license to be suspended without a pre-deprivation hearing only in

emergency circumstances, 431 U.S. 105 (1977); and (iii) despite Defendants’

arguments to the contrary, Mr. DiFrancesco is entitled to due process even though

he has never had a driver’s license.

             i.    The Mathews Factors Weigh Heavily in Favor of the
                   Guarantee of an Ability-to-Pay Hearing and Notice of that
                   Hearing

      The procedural due process factors identified by the Supreme Court in

Mathews v. Eldridge weigh in favor of guaranteeing an ability-to-pay hearing before

suspension and notice of such an opportunity to be heard. 424 U.S. at 335.

      The first Mathews factor, the private interest affected, is significant, as the

ability to drive legally is paramount in Montana. The Supreme Court has explicitly

held that a property interest in a driver’s license is so significant that it requires

(except in emergency circumstances) a pre-deprivation hearing. Bell v. Burson, 402

U.S. 535, 542 (1971) (“[E]xcept in emergency situations (and this is not one)[,] due


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process requires that when a State seeks to terminate an interest such as that here

involved, it must afford notice and opportunity for hearing appropriate to the nature

of the case before the termination becomes effective.”) (internal quotation marks

omitted). As Plaintiffs discussed in their Summary Judgment Brief (ECF No. 71 at

16), a driver’s license is often necessary for finding and maintaining employment,

and it is essential for carrying out the duties and responsibilities of everyday life,

especially in a state like Montana, where distances are vast and public transportation

is often unavailable. Pls.’ Undisputed Facts, ECF No. 70 at ¶¶ 60–64; see also

Wooley v. Maynard, 430 U.S. 705, 715 (1977) (“[D]riving an automobile” is “a

virtual necessity for most Americans.”). The loss of a license can directly affect a

person’s livelihood, interfere with the ability to care for one’s children and other

dependents, make it difficult or impossible to go to the doctor or shop for food,

render a person helpless in the event of an emergency — the list of potential

consequences goes on. Robinson, 326 F.R.D. at 156. Because of the great — even

unforeseeable — scope of the consequences, the nature of the interest affected by

these suspensions is serious, and robust procedural due process is required.

      Regarding the second Mathews factor, the risk of erroneous deprivation is

great. For indigent Montanans, the liability necessary to justify suspension includes

the willfulness of the nonpayment; non-willfulness erodes Plaintiffs’ liability in a

failure-to-pay charge. See, e.g., Bearden, 461 U.S. at 660. Thus, an ability-to-pay

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hearing is required to determine willfulness before suspension. See Bell, 402 U.S.

at 536–37 (“[T]he State’s statutory scheme, in failing before suspending the licenses

to afford [the motorist] a hearing on the question of his fault or liability, denied him

due process”) (emphasis added). Defendants effectively concede, as they must, that

a suspension for non-willful nonpayment would be erroneous. Such suspensions for

non-willful nonpayment are repugnant to the state’s interests, which even

Defendants argue are designed to protect indigent drivers. Because it would be

erroneous to suspend a license for non-willful nonpayment, a hearing on the question

of willfulness is essential for avoiding erroneous suspensions.

      Finally, the third Mathews factor — the government’s interest, including the

burden of additional procedural requirements — weighs in Plaintiffs’ favor. In this

case, the government’s interests pale in comparison to the significance of the private

interest at stake, since the state action in question — license suspension — bears no

rational relationship to any legitimate state interest (at least not for people who are

indigent). Moreover, the burden of introducing additional procedural protections is

not great, especially since it would undoubtedly result in fewer unnecessary

suspensions being enforced, which would help to balance the burden on Defendants.

It may be administratively tedious to implement pre-deprivation ability-to-pay

hearings for all individuals who wish to assert inability to pay as a defense against

license suspension, but the state cannot simply claim that respecting constitutional

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rights is too much work. And Defendants themselves need not conduct hearings;

they have the option of finding a way of ensuring that Montana’s courts are assessing

ability to pay either before ordering fines, costs, and restitution or before notifying

Defendants that a person has failed to pay (thus triggering license suspension). For

example, Defendants could simply require that the courts provide a specific

certification that ability to pay was considered in assessing the amount owed when

they send a notice for Defendants to suspend a driver’s license for failure to pay a

fine, cost, or restitution. As discussed below in section IV.B.ii, Defendants cannot

simply assume that such ability-to-pay considerations are taking place in all

Montana courts.

             ii.    Dixon v. Love Permits a Driver’s License to Be Suspended
                    Without a Pre-Deprivation Hearing Only in Emergency
                    Circumstances

      Defendants cite Dixon v. Love for the assertion that a license can be suspended

without a hearing, but this read of Dixon is too broad. Defs.’ Summ. J. Br., ECF No.

75 at 16 (citing Dixon v. Love, 431 U.S. 105, 112–13 (1977)). Dixon deals with “a

driver who repeatedly has been convicted of traffic offenses” and thus implicates

“the important public interest in safety on the roads and highways.” 431 U.S. at 107,

114. The holding in Dixon is specifically limited to circumstances in which the

public interest in safety is at stake: “the public interests present under the

circumstances of this case are sufficiently visible and weighty for the State to make


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its summary initial decision effective without a predecision administrative hearing.”

Id. at 114 (emphasis added). By contrast, failure to pay is not an emergency and

does not threaten public safety. See Robinson, 326 F.R.D. at 162 (“The scheme

in Dixon was targeted at drivers who had amassed traffic offenses that could give

rise to a reasonable inference that they were significantly more likely than the

average driver to pose a risk to public safety if allowed on the road.”); see also Bell,

402 U.S. at 542 (“except in emergency situations (and this is not one)[,] due process

requires that when a State seeks to terminate an interest such as that here involved,

it must afford notice and opportunity for hearing appropriate to the nature of the case

before the termination becomes effective.”) (emphasis added) (internal quotation

marks omitted). Because Plaintiffs’ suspensions were entirely unrelated to safety

concerns, they were entitled to pre-deprivation hearings.

             iii.   Mr. DiFrancesco Is Entitled to Due Process Even Though He
                    Has Never Had a Driver’s License

      The cases Defendants rely upon in support of their argument that Mr.

DiFrancesco is not entitled to Due Process because he has never had a valid driver’s

license are inapposite. Both Peterson v. United States Department of Interior and

Bowen v. Public Agencies Opposed to Social Security Entrapment are takings cases

recognizing that Congress cannot rely absolutely on its power to take away property

already acquired. Peterson v. United States Dept. of Interior, 899 F.2d 799, 808



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n.16 (9th Cir. 1990); Bowen v. Public Agencies Opposed to Social Security

Entrapment, 477 U.S. 41, 55 (1986). Bell v. Burson states:

      Once licenses are issued . . . their continued possession may become
      essential in the pursuit of a livelihood. Suspension of issued licenses
      thus involves state action that adjudicates important interests of the
      licensees. In such cases the licenses are not to be taken away without
      that procedural due process required by the Fourteenth Amendment.

402 U.S. at 539. The logic of Bell is that because a person with an already-issued

driver’s license may become dependent on that license to earn a living, the state must

afford the person adequate due process before suspending the license.               Mr.

DiFrancesco was a child — fourteen years old — when Defendants preemptively

suspended his driving privileges, and he was prevented from ever being eligible to

obtain a license once he became old enough because he was never able to resolve

his failure-to-pay suspensions fully. Pls.’ Undisputed Facts, ECF No. 70 at ¶¶ 13–

17.   Despite never having been issued a driver’s license, Mr. DiFrancesco

nevertheless became dependent on driving to earn a living; in fact, it is difficult to

imagine how he could have avoided this dependency as a resident of Montana. Id.

at ¶¶ 7–8, 18, 60–64. Because Mr. DiFrancesco relies on his ability to drive to earn

a living, Bell instructs that he is entitled to Due Process protections of that ability.

Moreover, Mr. DiFrancesco’s indigence has disqualified him from the opportunity

to apply for a driver’s license, an opportunity he should have been entitled to and

would have been entitled to if not for his poverty.

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      B.     Montana’s Existing Statutory Scheme Does Not Provide Adequate
             Procedural Protections

      Montana’s existing statutory scheme does not provide adequate procedural

due process protections because (i) the initial opportunity to contest a violation does

not specifically provide an opportunity to assert inability to pay, (ii) Defendants

improperly rely on an assumption that Montana judges never impose fines that

individuals cannot afford to pay, and (iii) the pre-suspension notice provided to

individuals does not offer instructions for avoiding license suspension by asserting

inability to pay.

             i.     The Initial Opportunity to Contest a Violation Does Not
                    Specifically Provide an Opportunity to Assert Inability to
                    Pay

      Although Montana law requires that a court conduct a sentencing hearing

before imposing a sentence or making any other disposition, the required sentencing

hearing is not convened for the specific purpose of determining a person’s ability to

pay a fine, cost, or restitution. Pls.’ Undisputed Facts, ECF No. 70 at ¶¶ 41–42.

Plaintiffs are entitled not only to an opportunity to be heard, but specifically to a

meaningful opportunity to be heard on the issue of ability to pay.

             ii.    Defendants Improperly Rely on an Assumption that
                    Montana Judges Never Impose Fines that Individuals
                    Cannot Afford to Pay

      Defendants cannot simply assume that all fines, costs, and restitutions

imposed in the state of Montana are ordered after careful consideration of each

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individual’s financial circumstances. See Pls.’ Undisputed Facts, ECF No. 70 at ¶¶

38–40. In fact, Defendants have overwhelming evidence that many people cannot

afford to pay their court debt in Defendants’ own records of the thousands of

Montana residents whose licenses have been suspended for failure to pay for years

or decades. Id. at ¶¶ 51, 53 (2,513 DI Code 601 failure-to-pay suspensions were still

in effect as of 2018, and each of these suspensions is at least nine years old; 8,990

DI Code 605 failure-to-pay suspensions were still in effect as of 2018, and each of

these suspensions is at least five years old). Defendants’ shifting of responsibility

to Montana judges is, at best, deliberate indifference to the obvious reality that many

Montanans are unable to pay their court debts.

      Defendants’ reliance on Mont. Code Ann. § 46-18-231(3) is misplaced.

Section 46-18-231 is, by its own terms, limited to fines imposed in felony and

misdemeanor cases. The Traffic Regulation Chapter of the Motor Vehicles Title

(Title 61, Chapter 8) provides that any violation of Chapter 8 is a misdemeanor

(unless it is a felony). Mont. Code Ann. § 61-8-711(1). But insurance violations —

such as Ms. Davis’s only relevant underlying offenses — fall under Chapter 6,

Responsibility of Vehicle Users and Owners, which does not contain any provision

defining violations as misdemeanors (or felonies). In fact, consistent with this

interpretation, insurance violations carry a statutorily-mandated minimum fine of

$250 for a first offense, a set fine of $350 for a second offense, and a set fine of $500

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for a third offense. Mont. Code Ann. § 61-6-304. That is, the statutory scheme itself

does not contemplate judicial discretion and therefore is inconsistent with

Defendants’ assumption that all fines imposed in Montana are affordable based on

individuals’ financial means.

      Moreover, Plaintiffs themselves provide clear evidence that Montana judges

order unaffordable fines for indigent individuals at least some of the time. Both

Plaintiffs were unable to pay their court-ordered fine amounts, which led to

Defendants suspending their licenses. Pls.’ Undisputed Facts, ECF No. 70 at ¶¶ 11,

15, 20, 25, 27, 28, 31, 32. Both Plaintiffs remain unable to pay off their court debts,

which is why neither is able to drive legally at this time. Thus, Defendants cannot

reasonably assume or pretend that every fine, cost, or restitution ordered by a

Montana judge is affordable for indigent residents.

             iii.   The Pre-Suspension Notice Does Not Provide Instructions for
                    Avoiding License Suspension by Asserting Inability to Pay

      The pre-suspension notice that Defendants provide to individuals does not

specifically inform them of any ability-to-pay hearing; thus, the notice requirement

of procedural Due Process is entirely unmet. Pls.’ Undisputed Facts, ECF No. 70 at

¶ 44. Even if individuals have the option of raising ability to pay in a general hearing,

that opportunity is meaningless if no notice is provided to ensure that people are

aware that they have the right to assert inability to pay as a defense against

suspension. See Memphis Light, Gas and Water Div. v. Craft, 436 U.S. 1, 14 (1978)
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(“The purpose of notice under the Due Process Clause is to apprise the affected

individual of, and permit adequate preparation for, an impending hearing. Notice in

a case of this kind does not comport with constitutional requirements when it does

not advise the [individual] of the availability of a procedure for protesting a proposed

termination . . . as unjustified.”).   For this reason alone, Plaintiffs were denied

procedural due process.

V.    Conclusion

      For all the reasons above, Plaintiffs respectfully request that this Court deny

Defendants’ Motion for Summary Judgment (ECF No. 72) and grant Plaintiffs’

Motion for Summary Judgment as to Liability (ECF No. 69).

                           Respectfully submitted,

                           /s/ Phil Telfeyan
                           Phil Telfeyan (pro hac vice)
                           Rebecca Ramaswamy (pro hac vice)
                           Attorneys, Equal Justice Under Law
                           400 7th Street NW, Suite 602
                           Washington, D.C. 20004
                           (202) 505-2058
                           ptelfeyan@equaljusticeunderlaw.org
                           rramaswamy@equaljusticeunderlaw.org

                           /s/ Robert Farris-Olsen
                           Robert Farris-Olsen (MT Bar No. 11937)
                           Scott Peterson (MT Bar No. 11996)
                           Attorneys, Morrison, Sherwood, Wilson & Deola, PLLP
                           401 N. Last Chance Gulch St.
                           Helena, MT 59601
                           (406) 442-3261
                           rfolsen@mswdlaw.com
                                           24
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                          speterson@mswdlaw.com

                          Attorneys for Plaintiffs


                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the above document contains 5,730 words and is therefore

compliant with D. Mont. L.R. 7.1(d)(2)(A).

                                       /s/ Rebecca Ramaswamy
                                       Attorney for Plaintiffs


                         CERTIFICATE OF SERVICE

      I hereby certify that on May 3, 2019, I electronically filed the above document

with the Clerk of the Court using the ECF System, which will provide electronic

copies to the counsel of record.

                                       /s/ Rebecca Ramaswamy
                                       Attorney for Plaintiffs




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